  Case 1:21-cr-00524-JHR Document 32 Filed 04/07/23 Page 1 of 2 PageID: 137




                              Biancamano Law, LLC
                                      42A North 20th Street
                                      Kenilworth, NJ 07033
                                      Phone: (732)804-9944


                                           April 7, 2023
Honorable Joseph H. Rodriguez
United States District Court Judge
District of New Jersey
Mitchell H. Cohen Bldg. & U.S. Courthouse
4th & Cooper Streets
Camden, NJ 08101

                           Re: United States v. John Grier (21-524)

Dear Judge Rodriguez:

         I write to respectfully request an adjournment of the current trial date of May 8, 2023. As
the Court and Government are aware, I had a procedure in March of this year and my recovery has
been a much slower process than initially anticipated. As a result, my ability to participate in
necessary trial preparation has been significantly limited. If the Court can graciously accommodate
this request, I would respectfully propose a mid-September trial date. This would allow me the
time I need to fully recover, while also allowing my partner, Daniel Holzapfel, Esq., the time to
join the defense and get himself up to speed so that he is available to stand in as needed while I
continue to heal. This will also ensure that one of us is prepared to proceed on the next scheduled
trial date regardless of my medical status.

        By way of background, this is my first adjournment request since coming into this matter
as co-counsel a few months ago. That said, I understand that the matter has been adjourned on
prior occasions and sincerely appreciate Your Honor’s time and thoughtful consideration in this
regard in light of the circumstances. A proposed form of Order is submitted herewith for Your
Honor’s review.

                                              Respectfully submitted,

                                              s/ Stacy Biancamano

                                              Stacy Biancamano

Encls.
CC: Jason Richardson, AUSA
Case 1:21-cr-00524-JHR Document 32 Filed 04/07/23 Page 2 of 2 PageID: 138




   Lindsey Harteis, AUSA
   Stuart Alterman, Esq.
   Daniel Holzapfel, Esq.
   John Grier
